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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

MONICA BRUNTY, on behalf of herself
and others similarly situated,

          Plaintiff,

v.                                                     Civil Action No. 2:19cv255

OPTIMA HEALTH PLAN and
SENTARA HEALTH PLANS, INC.

          Defendants.

     MEMORANDUM IN SUPPORT OF CONSENT MOTION FOR CONTINUANCE
              OF TRIAL DATE AND STAY OF DISCOVERY

          The parties, by counsel, and pursuant to Local Rule 7(G), jointly submit the following

Memorandum in Support of Defendant’s Motion for Continuance of Trial and Stay of Discovery

(“Continuance Motion”). This is a Fair Labor Standards Act (“FLSA”) action in which the two

current plaintiffs claim that they were misclassified as exempt from FLSA overtime

requirements. The original named Plaintiff purported to sue on behalf of herself and others

similarly situated. Plaintiffs plan on filing a Motion for Conditional Certification and Court

Authorized Notice to a potential collective action class by not later than September 19, 2019 (the

“Motion”). The Defendants will oppose the Motion.

          For the reasons described below, the Parties jointly believe that economic and judicial

efficiencies would be best served by staying discovery and the deadlines preliminarily set during

the initial Scheduling Conference held on August 22, 2019, until after the Court rules on the

Motion. The Parties further request that the trial date preliminarily set at the Scheduling

Conference be continued, and that a new Scheduling Order and trial date should be issued after

the Court rules on Plaintiffs’ Motion.



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                               BACKGROUND AND ARGUMENT

          This case was initially filed by Monica Brunty, a former “Care Coordinator-Non RN” for

Optima Health Plan (“Optima”). Subsequently, Pamela Langley (also a former Care

Coordinator) filed a consent to participate in the litigation. Plaintiffs contend that they were

misclassified as exempt from the FLSA’s overtime requirements, and that they were improperly

denied overtime pay. Optima denies these allegations. Plaintiffs’ Amended Complaint also

asserts that a number of separate positions at Optima were also misclassified, an allegation which

Optima denies. Plaintiffs have alleged that the case should proceed as a collective action that

would include Plaintiffs, other employees with the same job title as Plaintiffs, and all employees

in other job titles that Plaintiffs contend are similar. Plaintiffs contend (among other things) that

all of these employees are “similarly situated” and that a collective action class potentially

including these other employees is appropriate. Optima denies (among other things) that the

case should proceed as a collective action or that the employees referenced by Plaintiffs are

similarly situated.

          The parties have agreed to share certain information by September 6 as part of their

initial disclosure obligations, and Plaintiffs have stated their intention to file their Motion by

September 19. This Motion will seek conditional certification of a collective action “opt-in”

class, as well as the right to send a notice to all potential class members of their right to opt into

the conditional class. Optima will be opposing the Motion.

          Unlike in class actions under Rule 23, FLSA collective actions require potential plaintiffs

in a conditionally certified class to opt-in to the litigation. If the Court grants the Motion,

Plaintiffs would generally be given some deadline by which they must distribute a Court-

Approved Notice to potential class members, and a deadline to add any new plaintiffs to the suit.



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Thus, it will not be clear who (or how many) the plaintiffs in this case will be until after the

Court rules on Plaintiffs’ Motion and until the end of the Notice period. This makes a December

discovery cutoff for Plaintiffs and a January cutoff for Defendants impracticable. Moreover, if

the Court grants the Motion, and after the Parties conduct discovery, Defendants would likely

file a Motion to Decertify some or all of the Conditional Class. It is also likely that one or both

sides of the litigation would file Motions for Summary Judgment on exempt status. Only after

the Court ruled on these Motions would the parties know the potential scope of any remaining

discovery and trial preparation, or the scope of the trial itself. This is yet another reason that

closing discovery in December and January, and having a trial in February appears

impracticable.

          If the Court grants the Motion, the scope of discovery will be expanded to include

employees, additional supervisors and other potential witnesses related to the new plaintiffs, and

additional documents and information that could be relevant to the new plaintiffs’ claims and

Optima’s defenses to these claims. By staying discovery until after the Court rules on Plaintiffs’

Motion, the parties can avoid significant costs conducting discovery that would only be relevant

if the Court grants the Motion. This would also avoid unnecessary discovery disputes about the

scope of discovery prior to the Court ruling on Plaintiffs’ Motion.

          Without information about the putative class identity, number of potential class members,

and potential jobs included in the class (if any), it would be difficult for the Parties to estimate

the appropriate scope of discovery. It is also impossible to estimate the length of trial. If the

Court denies the Motion, the trial could last between two and four days. But if the Motion is

granted, the trial could last a number of weeks or even months. If the Motion is denied (and if

the Court grants this Continuance Motion) the parties will have avoided significant unnecessary



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discovery about jobs and employees who/which would not be relevant to the more limited action

following a denial of the Motion.

          For these and other reasons, collective actions do not lend themselves to the traditional

schedule as they are a unique type of action and are generally conducted in multiple phases. For

example, if the Court grants Plaintiffs’ Motion, there would typically be a robust period of

discovery, followed by a Motion to Decertify some or all of the Conditional Class, along with

summary judgment motions from one or more of the parties. Due to the phased nature of FLSA

collective actions, this Court has repeatedly deviated from its standard schedule for typical

employment case.

          For these reasons, the Parties hereby respectfully request that the Court order that:

          1.     Plaintiffs shall file their Motion for Conditional Certification and Notice by

September 19, 2019.

          2.     Defendants shall have 28 days to file their opposition to the Motion.1

          3.     Plaintiffs shall have seven (7) days to file their reply in support of the Motion.

          4.     Discovery, other than initial disclosures, is stayed until after the Court rules on the

Motion.

          5.     The trial date and other deadlines preliminarily set at the Rule 16 Scheduling

Conference are continued until after the Court rules on the Motion.

          6.     After the Court rules on the Motion, the Parties will promptly meet and confer

about an appropriate discovery plan, and will attend a new Rule 16 scheduling conference.




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 Because of the complexity of the Motion, the number of potential Declarations and other
Exhibits, and the amount of time Plaintiffs will have to prepare their Motion, the parties have
consented to this deviation from the normal briefing schedule under Local Rule 7.


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          WHEREFORE, the Parties respectfully request that the Court grant the parties’ Motion

for Continuance of Trial Date and Stay of Discovery.

                                              Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

          I hereby certify on the 26th day of August 2019, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to the following:

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